Case 1:15-cv-07433-LAP Document 1137-9 Filed 10/22/20 Page 1 of 56




COMPOSITE EXHIBIT A
Case 1:15-cv-07433-LAP Document 1137-9 Filed 10/22/20 Page 2 of 56


                                                                     Page 1


      UNITED STATES DISTRICT COURT
      SOUTHERN DISTRICT OF NEW YORK
      - - - - - - - - - - - - - - - - - - - - x
      VIRGINIA L. GIUFFRE,

                   Plaintiff,
                                            Case No.:
           -against-                        15-cv-07433-RWS

      GHISLAINE MAXWELL,

                   Defendants.

      - - - - - - - - - - - - - - - - - - - - x

                           **CONFIDENTIAL**

                 Videotaped deposition of GHISLAINE
            MAXWELL, taken pursuant to subpoena, was
            held at the law offices of BOIES
            SCHILLER & FLEXNER, 575 Lexington
            Avenue, New York, New York, commencing
            April 22, 2016, 9:04 a.m., on the above
            date, before Leslie Fagin, a Court
            Reporter and Notary Public in the State
            of New York.

                           - - -
                 MAGNA LEGAL SERVICES
             1200 Avenue of the Americas
              New York, New York 10026
Case 1:15-cv-07433-LAP Document 1137-9 Filed 10/22/20 Page 3 of 56


                                                                     Page 2
 1
 2    APPEARANCES:
 3
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 4    Attorneys for Plaintiff
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18              Denver, Colorado 80203
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19              LAURA A. MENNINGER, ESQUIRE
20
21    Also Present:
22        James Christe, videographer
23
24
25
   Case 1:15-cv-07433-LAP Document 1137-9 Filed 10/22/20 Page 4 of 56




Questions About People Under the Age of 18 at Epstein’s Home
Case 1:15-cv-07433-LAP Document 1137-9 Filed 10/22/20 Page 5 of 56


                                                                     Page 13
 1               G Maxwell - Confidential
 2          Q.      You can answer.
 3          A.      I have not any idea exactly of the
 4    youngest adult employee that I hired for
 5    Jeffrey.
 6          Q.      When you say adult employee, did
 7    you ever hire someone that was under the age
 8    of 18?
 9          A.      Never.
10          Q.     Did you ever bring someone who was
11    under -- invite someone under the age of 18
12    to Jeffrey's home, any of his homes?
13                 MR. PAGLIUCA:      Object to the form
14          foundation.
15          A.     Can you repeat the question?
16          Q.     Did you ever invite anybody who was
17    under the age of 18 to Jeffrey's homes?
18                 MR. PAGLIUCA:      Same objections.
19          A.     I have a number of friends that
20    have children and friends of mine that have
21    kids and in the invitation of my friends and
22    their kids, I'm sure I may have invited some
23    of my friend's kids to come.
24          Q.     Anybody that is not a friend of
25    yours.
Case 1:15-cv-07433-LAP Document 1137-9 Filed 10/22/20 Page 6 of 56




       Questions About Meeting the Plaintiff and
               Massages with Plaintiff
Case 1:15-cv-07433-LAP Document 1137-9 Filed 10/22/20 Page 7 of 56


                                                                     Page 16
 1                G Maxwell - Confidential
 2           A.      Ms. Roberts held herself out --
 3           Q.      I'm not asking how she held herself
 4    out.     I'm asking how she arrived at the home.
 5    Did you meet her and invite her to come to
 6    the home or how did she arrive there?
 7                   MR. PAGLIUCA:    Object to the form
 8           and foundation.
 9           A.      Ms. Roberts held her to be a
10    masseuse and her mother drove her to the
11    house.
12           Q.     When did you first meet Virginia
13    Roberts?
14           A.     I don't have a recollection of the
15    first meeting.
16           Q.     Do you recall meeting her at
17    Mar-a-Lago?
18           A.     Like I said, I don't have a
19    recollection of meeting Ms. Roberts.
20           Q.     So you recall Ms. Roberts being
21    brought to the home by her mother, is that
22    your testimony?
23           A.     That is my testimony.
24           Q.     And that is the first time you met
25    her?
Case 1:15-cv-07433-LAP Document 1137-9 Filed 10/22/20 Page 8 of 56


                                                                     Page 17
 1               G Maxwell - Confidential
 2          A.      Like I said, I don't recall meeting
 3    her the first time.        I do remember her mother
 4    bringing her to the house.
 5          Q.      Are you a member at Mar-a-Lago?
 6          A.      No.
 7          Q.      Have you visited Mar-a-Lago?
 8          A.      Yes.
 9          Q.      Did you visit Mar-a-Lago in the
10    year 2000?
11          A.     I'm pretty sure I did.
12          Q.     When Ms. Roberts arrived at the
13    home with her mother, what happened?
14          A.     I spoke to her mother outside of
15    the house and she -- what I don't recall is
16    exactly what happened because I was talking
17    to her mother the entire she was in the
18    house.
19          Q.     Did you introduce Ms. Roberts to
20    Jeffrey Epstein?
21          A.     I don't recall how she actually met
22    Mr. Epstein.        As I said, I spoke to her
23    mother the entire time outside the house.
24          Q.     Did you walk Ms. Roberts up to the
25    upstairs location at the Palm Beach house to
Case 1:15-cv-07433-LAP Document 1137-9 Filed 10/22/20 Page 9 of 56


                                                                     Page 19
 1               G Maxwell - Confidential
 2    absolutely everything that took place in that
 3    first meeting.      She has lied repeatedly,
 4    often and is just an awful fantasist.            So
 5    very difficult for anything to take place
 6    that she repeated because I was with her
 7    mother the entire time.
 8          Q.      So did you have -- did you give a
 9    massage with Virginia Roberts and Mr. Epstein
10    during the first time Virginia Roberts was at
11    the West Palm Beach house?
12                 MR. PAGLIUCA:      Object to the form
13          and foundation.
14          Q.     Yes or no?
15          A.     No.
16          Q.     Have you ever given a massage with
17    Virginia Roberts in the room and Jeffrey
18    Epstein?
19                 MR. PAGLIUCA:      Object to the form
20          and foundation.
21          A.     No.
22          Q.     Have you ever given Jeffrey Epstein
23    a massage?
24                 MR. PAGLIUCA:      Object to the form,
25          foundation.      And I'm going to instruct
Case 1:15-cv-07433-LAP Document 1137-9 Filed 10/22/20 Page 10 of 56




         Questions About Massages with Minors
Case 1:15-cv-07433-LAP Document 1137-9 Filed 10/22/20 Page 11 of 56


                                                                      Page 22
 1                G Maxwell - Confidential
 2           questions.
 3                   MR. PAGLIUCA:    I'm instructing her
 4           not to answer.
 5                   MS. McCAWLEY:    Then we will be back
 6           here again.
 7           Q.      Have you ever given a massage to
 8    Mr. Epstein with a female that was under the
 9    age of 18?
10           A.     Can you repeat the question?
11           Q.     Yes.   Have you ever given a massage
12    to Mr. Epstein with a female that was under
13    the age of 18?
14           A.     No.
15           Q.     Have you ever observed Mr. Epstein
16    having a massage given by an individual, a
17    female, who was under the age of 18?
18           A.     No.
19           Q.     Have you ever observed females
20    under the age of 18 in the presence of
21    Jeffrey Epstein at his home?
22                  MR. PAGLIUCA:     Object to the form
23           and foundation.
24           A.     Again, I have friends that have
25    children --
Case 1:15-cv-07433-LAP Document 1137-9 Filed 10/22/20 Page 12 of 56




       Questions About Hiring Massage Therapists
Case 1:15-cv-07433-LAP Document 1137-9 Filed 10/22/20 Page 13 of 56


                                                                      Page 31
 1                G Maxwell - Confidential
 2    -- just another one of Virginia's many
 3    fictitious lies and stories to make this a
 4    salacious event to get interest and press.
 5    It's absolute rubbish.
 6           Q.      Were you in charge of hiring
 7    individuals to provide massages for Jeffrey
 8    Epstein?
 9           A.      My job included hiring many people.
10    There were six homes.         As I sit here, I hired
11    assistants, I hired architects, I hired
12    decorators, I hired cooks, I hired cleaners,
13    I hired gardeners, I hired pool people, I
14    hired pilots, I hired all sorts of people.
15                  In the course and a very small part
16    of my job was from from time to time to find
17    adult professional massage therapists for
18    Jeffrey.
19           Q.     When you say adult professional
20    massage therapists, where did you find these
21    massage therapists?
22           A.     From time to time I would visit
23    professional spas, I would receive a massage
24    and if the massage was good I would ask that
25    man or woman if they did home visits.
Case 1:15-cv-07433-LAP Document 1137-9 Filed 10/22/20 Page 14 of 56




 Questions About
Case 1:15-cv-07433-LAP Document 1137-9 Filed 10/22/20 Page 15 of 56


                                                                      Page 37
 1                G Maxwell - Confidential
 2    here today I do not.
 3           Q.      Ms. Maxwell, when did you first
 4    meet
 5                   MR. PAGLIUCA:    Object to the form
 6           and foundation.
 7           A.      I have no idea when I met her.
 8           Q.      Do you know how old she was when
 9    you met her?
10           A.     I have no idea how old she was when
11    I met her.
12           Q.     Is it possible she was 13 years old
13    when you first met her?
14                  MR. PAGLIUCA:     Object to the form
15           and foundation.
16           A.


18    may have been in the house when Jeffrey was
19    in the house.      I have no idea how old she
20    was.
21           Q.     I understand she was with


23                  I'm asking if                      was 13
24    years old when you first met her?
25           A.     I have no idea.
Case 1:15-cv-07433-LAP Document 1137-9 Filed 10/22/20 Page 16 of 56


                                                                      Page 38
 1                G Maxwell - Confidential
 2           Q.      Was she under 18 when you first met
 3    her?
 4           A.      I have no idea how old she was when
 5    I first met her.
 6           Q.      Did she look like a child when you
 7    first met her?
 8           A.      I don't remember what she looked
 9    like at the time she was in the house.
10           Q.     How many years have you known her?
11           A.     I can only recall the last time I
12    saw her.
13           Q.     When was the first time you met
14    her?
15           A.     Again, I just told you, I don't
16    recall the first time I met her.
17           Q.     Did                   travel with you
18    on Jeffrey's planes?
19           A.     I wouldn't remember if              was on
20    the plane or not.
21           Q.     Did you ever have sex with


23           A.     No.
24           Q.     Did you ever observe Jeffrey having
25    sex with
Case 1:15-cv-07433-LAP Document 1137-9 Filed 10/22/20 Page 17 of 56


                                                                      Page 39
 1                G Maxwell - Confidential
 2           A.      No.
 3           Q.      Were you aware that Jeffrey was
 4    having sexual contact with                          when
 5    she was 13 years old?
 6                   MR. PAGLIUCA:    Object to the form
 7           and foundation.
 8           A.      I would be very shocked and
 9    surprised if that were true.
10           Q.     Were you in the house when
                  was in the house in a private area
12    with Jeffrey Epstein?
13                  MR. PAGLIUCA:     Object to the form
14           and foundation.
15           A.     Can you repeat the question.
16           Q.     Were you ever in the Palm Beach
17    house when Jeffrey Epstein was in the house
18    with                   ?
19                  MR. PAGLIUCA:     Object to the form
20           and foundation.
21           A.     I've already testified that I have
22    met her and that she was there
23                 I don't understand what your
24    question is asking.
25           Q.     So you have never seen
Case 1:15-cv-07433-LAP Document 1137-9 Filed 10/22/20 Page 18 of 56


                                                                      Page 40
 1                G Maxwell - Confidential
 2
 3                   MR. PAGLIUCA:    Object to the form
 4           and foundation.
 5           Q.      Is that your testimony?
 6           A.      I already said I don't recall all
 7    the times I've seen her and I have no memory
 8    of that.
 9           Q.      Have you ever seen                      in
10    the house with Jeffrey Epstein
11
12                  MR. PAGLIUCA:     Object to the form
13           and foundation.
14           A.     I just told you I don't recall
15    seeing
16           Q.     Were you ever involved in an orgy
17    with
18           A.     No, absolutely not.
19           Q.     Can you tell me, do you know an
20    individual by the name of
21           A.     I do.
22           Q.     How did you meet
23           A.     At some point she was a friend of
24    Jeffrey's and I recall meeting her at some
25    point.
Case 1:15-cv-07433-LAP Document 1137-9 Filed 10/22/20 Page 19 of 56


                                                                      Page 46
 1                G Maxwell - Confidential
 2           Q.      Did Jeffrey arrange for a visa for
 3                         ?
 4           A.      I don't know what Jeffrey did.         I
 5    cannot testify what Jeffrey did.
 6           Q.      Was        involved in sex with
 7    Jeffrey and other girls?
 8                   MR. PAGLIUCA:    Object to the form
 9           and foundation.
10           Q.     Girls under the age of 18?
11                  MR. PAGLIUCA:     Same objection.
12           A.     I have no idea.
13           Q.     Was         involved with sex with
14    Jeffrey and girls over the age of 18?
15                  MR. PAGLIUCA:     Same objection.
16           A.     I have no idea.
17           Q.     Did         recruit other girls for
18    sex with Jeffrey?
19                  MR. PAGLIUCA:     Object to the form
20           and foundation.
21           A.     I have no idea.
22           Q.     Do you still talk to
23           A.     No.
24           Q.
25           A.     I have no idea.
Case 1:15-cv-07433-LAP Document 1137-9 Filed 10/22/20 Page 20 of 56




           Questions About Mr. Epstein and Sex
Case 1:15-cv-07433-LAP Document 1137-9 Filed 10/22/20 Page 21 of 56


                                                                      Page 53
 1                G Maxwell - Confidential
 2    acts.       I'm asking whether any of the massage
 3    therapists performed sexual acts for Mr.
 4    Epstein, as I have just described?
 5           A.      I have never seen anybody have
 6    sexual intercourse with with Jeffrey, ever.
 7           Q.      I'm not asking about sexual
 8    intercourse.       I'm asking about any sexual
 9    act, touching of the breast -- did you ever
10    see -- can you read back the question?
11                  (Record read.)
12           A.     I'm not addressing any questions
13    about consensual adult sex.          If you want to
14    talk about what the subject matter, which is
15    defamation and lying, Virginia Roberts, that
16    you and Virginia Roberts are participating in
17    perpetrating her lies, I'm happy to address
18    those.      I never saw any inappropriate
19    underage activities with Jeffrey ever.
20           Q.     I'm not asking about underage.          I'm
21    asking about whether any of the masseuses
22    that were at the home perform sexual acts for
23    Jeffrey Epstein?
24           A.     I have just answered the question.
25           Q.     No, you haven't.
  Case 1:15-cv-07433-LAP Document 1137-9 Filed 10/22/20 Page 22 of 56




Questions About                                 , Plaintiff,
                                            and Sex
Case 1:15-cv-07433-LAP Document 1137-9 Filed 10/22/20 Page 23 of 56


                                                                      Page 54
 1             G Maxwell - Confidential
 2           A.     I have.
 3           Q.     No, you haven't.
 4           A.     Yes, I have.
 5           Q.     You are refusing to answer the
 6    question.
 7           A.     Let's move on.
 8           Q.     I'm in charge of the deposition.          I
 9    say when we move on and when we don't.
10                  You are here to respond to my
11    questions.      If you are refusing to answer the
12    court will bring you back for another
13    deposition to answer these questions.
14                  Do you understand that?
15                  MR. PAGLIUCA:     You don't need to
16           threaten the witness.
17                  MS. McCAWLEY:     I'm not threatening
18           her.    I'm making sure the record is
19           clear.
20                  MR. PAGLIUCA:     Certainly can you
21           apply to have someone come back and the
22           court may or may not have her come back
23           again.
24                  Again, she is not answering
25           questions that relate to adult consent
Case 1:15-cv-07433-LAP Document 1137-9 Filed 10/22/20 Page 24 of 56


                                                                      Page 55
 1                G Maxwell - Confidential
 2            sex acts.     Period.   And that's the
 3            instruction and we can take it up with
 4            the court.
 5            Q.     Ms. Maxwell, are you aware of any
 6    sexual acts with masseuses and Jeffrey
 7    Epstein that were nonconsensual?
 8            A.     No.
 9            Q.     How do you know that?
10           A.     All the time that I have been in
11    the house I have never seen, heard, nor
12    witnessed, nor have reported to me that any
13    activities took place, that people were in
14    distress, either reported to me by the staff
15    or anyone else.       I base my answer based on
16    that.
17           Q.     Are you familiar with a person by
18    the name of
19           A.     I am.
20           Q.     Has                  given a statement
21    to police about you performing sexual acts on
22    her?
23           A.     I have not heard that.
24           Q.     Has                  given a statement
25    to police about Jeffrey Epstein performing
Case 1:15-cv-07433-LAP Document 1137-9 Filed 10/22/20 Page 25 of 56


                                                                      Page 57
 1                G Maxwell - Confidential
 2           asked and answered already.
 3           Q.      You can answer the question.
 4           A.      I have no idea what
 5    did.
 6           Q.      You never observed
 7    with girls under the age of 18 at Jeffrey's
 8    home?
 9                   MR. PAGLIUCA:    Object to the form
10           and foundation.
11           A.     The answer is no, I have no idea.
12           Q.     Do you know
13           A.     I do.
14           Q.     What is your relationship with
15
16                  MR. PAGLIUCA:     Object to the form.
17           A.     What do you mean what is my
18    relationship.
19           Q.     Are you friendly with him, how do
20    you know him?
21           A.     He is the husband of
22           Q.     Is              one of your friends?
23           A.     Yes.
24           Q.     Did you ever send Virginia to
25                                          to give him a
Case 1:15-cv-07433-LAP Document 1137-9 Filed 10/22/20 Page 26 of 56


                                                                      Page 58
 1                G Maxwell - Confidential
 2    massage?
 3                   MR. PAGLIUCA:    Objection to the
 4           form and foundation.
 5           A.      No.
 6           Q.      Did you ever instruct Virginia
 7    Roberts to have sex with
 8                   MR. PAGLIUCA:    Objection to the
 9           form and foundation.
10           A.     I have never instructed Virginia to
11    have sex with anybody ever.
12           Q.     How old was                    when she
13    met Jeffrey?
14                  MR. PAGLIUCA:     Objection to the
15           form and foundation.
16           A.     I have no idea.
17           Q.     What's she under the age of 18?
18                  MR. PAGLIUCA:     Objection to the
19           form and foundation.
20           A.     I just testified I have idea how
21    old she was.
22           Q.     You testified she was your friend.
23    You don't know how old she was when she met
24    Jeffrey?
25           A.     That happened sometime in the '70s,
Case 1:15-cv-07433-LAP Document 1137-9 Filed 10/22/20 Page 27 of 56


                                                                      Page 59
 1                G Maxwell - Confidential
 2    how would I know, or '80s.          I have no idea.
 3    Can you testify to what your friends did 30
 4    years ago?
 5           Q.      You don't ask the questions here,
 6    Ms. Maxwell.
 7                   What about                     , when
 8    did you first meet
 9           A.      I don't recall the exact date.
10           Q.     Did you hire
11           A.     I don't hire people, she came to
12    work at the house to answer phones.
13           Q.     Where did you meet her?
14           A.     I just testified, I don't recall
15    exactly when I met her.
16           Q.     Was one of your job
17    responsibilities to interview people that
18    would be then hired by Jeffrey?
19           A.     That was one of my
20    responsibilities.
21           Q.     Do you recall interviewing
22           A.     I don't recall the exact interview,
23    no.
24           Q.     Do you know what tasks                was
25    hired to performance?
Case 1:15-cv-07433-LAP Document 1137-9 Filed 10/22/20 Page 28 of 56


                                                                      Page 60
 1                G Maxwell - Confidential
 2           A.      She was tasked to answer
 3    telephones.
 4           Q.      Did you ever ask her to rub
 5    Jeffrey's feet?
 6                   MR. PAGLIUCA:    Objection to the
 7           form and foundation.
 8           A.      I believe that I have read that,
 9    but I don't have any memory of it.
10           Q.     Did you ever tell               that she
11    would get extra money if she provided Jeffrey
12    massages?
13           A.     I was always happy to give career
14    advice to people and I think that becoming
15    somebody in the healthcare profession, either
16    exercise instructor or nutritionist or
17    professional massage therapist is an
18    excellent job opportunity.          Hourly wages are
19    around 7, 8, $9 and as a professional
20    healthcare provider you can earn somewhere
21    between as we have established 100 to $200
22    and to be able to travel and have a job that
23    pays that is a wonderful job opportunity.              So
24    in the context of advising people for
25    opportunities for work, it is possible that I
Case 1:15-cv-07433-LAP Document 1137-9 Filed 10/22/20 Page 29 of 56


                                                                      Page 61
 1                G Maxwell - Confidential
 2    would have said that she should explore that
 3    as an option.
 4           Q.      Did you tell her she would get
 5    extra money if she massaged Jeffrey?
 6           A.      I'm just saying, I cannot recall
 7    the exact conversation.         I give career advice
 8    and I have done that.
 9           Q.      Did you ever have              massage
10    you?
11           A.     I did.
12           Q.     How many times?
13           A.     I don't recall how many times.
14           Q.     Was there sex involved?
15           A.     No.
16           Q.     Did you ever instruct                to
17    massage
18           A.     I don't believe -- I have no
19    recollection of it.
20           Q.     Did you ever have sexual contact
21    with
22                  MR. PAGLIUCA:     Object to the form
23           and foundation.      You need to give me an
24           opportunity to get in between the
25           questions.
Case 1:15-cv-07433-LAP Document 1137-9 Filed 10/22/20 Page 30 of 56


                                                                      Page 62
 1                G Maxwell - Confidential
 2                   Anything that involves consensual
 3           sex on your part, I'm instructing you
 4           not to answer.
 5           Q.      Did you ever have sexual contact
 6    with
 7           A.      Again, she is an adult --
 8           Q.      I'm asking you, did you ever have
 9    sexual contact with
10           A.     I've just been instructed not to
11    answer.
12           Q.     On what basis?
13           A.     You have to ask my lawyer.
14           Q.     Did you ever have sexual contact
15    with             that was not consensual on
16                  part?
17                  MR. PAGLIUCA:     You can answer
18           nonconsensual.
19           A.     I've never had nonconsensual sex
20    with anybody.
21           Q.     Not
22                  MR. PAGLIUCA:     Objection.
23           A.     I just testified I never had
24    nonconsensual sex with anybody ever, at any
25    time, at anyplace, at any time, with anybody.
Case 1:15-cv-07433-LAP Document 1137-9 Filed 10/22/20 Page 31 of 56


                                                                      Page 63
 1                G Maxwell - Confidential
 2           Q.      So if           were to testify that
 3    she did not consent to a sexual act that you
 4    participated in --
 5           A.      I just told you I have never ever
 6    under any circumstances with anybody, at any
 7    time, in anyplace, in any form had
 8    nonconsensual relations with anybody.
 9           Q.      Did you introduce
10
11                  MR. PAGLIUCA:     Objection to the
12           form and foundation.
13           A.     I've, again, read that
14    claimed that she met or that she said she met
15                           I don't know if I was the one
16    who made the introduction or not.
17           Q.     Do you know a female by the name of
18
19           A.     I do.
20           Q.     How do you know her?
21           A.
22           Q.     So she worked for you?
23           A.     Yes.
24           Q.     Did you hire her?
25           A.     Again, Jeffrey hired people.
  Case 1:15-cv-07433-LAP Document 1137-9 Filed 10/22/20 Page 32 of 56




Questions About             Virginia, and Ms. Maxwell Regarding
                                Sex
Case 1:15-cv-07433-LAP Document 1137-9 Filed 10/22/20 Page 33 of 56


                                                                      Page 65
 1                G Maxwell - Confidential
 2           consensual issue involved, I instruct
 3           you not to answer.
 4           A.      Moving on.
 5           Q.      So you are refusing to answer that
 6    question?
 7           A.      I've been instructed by my lawyer.
 8           Q.      Did you ever have sex with Jeffrey,
 9            Virginia and yourself when Virginia was
10    underage?
11           A.     Absolutely not.
12                  MR. PAGLIUCA:     We've been going for
13           about an hour.       I would like to take a
14           five-minute break, please.
15                  MS. McCAWLEY:     I'm almost done.
16                  MR. PAGLIUCA:     You are not going to
17           allow a break.
18                  MS. McCAWLEY:     As soon as I get
19           through my line of questioning, which is
20           perfectly appropriate.
21           Q.     Did                travel with you and
22    Jeffrey to Europe?
23           A.     I'm sure she did.
24           Q.     What is she doing today?
25           A.     I have no idea.
Case 1:15-cv-07433-LAP Document 1137-9 Filed 10/22/20 Page 34 of 56




          Questions About Outfits and Sex Toys
Case 1:15-cv-07433-LAP Document 1137-9 Filed 10/22/20 Page 35 of 56


                                                                      Page 69
 1                G Maxwell - Confidential
 2    about.
 3           Q.      So you didn't provide her with
 4    that?
 5           A.      As I just testified, I have no idea
 6    what you are talking about.
 7           Q.      I was trying to interpret whether
 8    you didn't understand what a school girl
 9    outfit was or you are saying that didn't
10    happen?
11           A.     I clearly know what a school girl
12    outfit is.      I have no recollection of
13    providing anybody with a school girl outfit.
14           Q.     Did you have a set of outfits used
15    by the massage therapists that would include
16    things like a school girl outfit or a black
17    patent leather outfit or anything of that
18    nature?
19                  MR. PAGLIUCA:     Object to the form
20           and foundation.
21           A.     That would be just another one of
22    Virginia's lies.
23           Q.     You didn't have anything like that?
24           A.     I did not.
25           Q.     Did you have a basket of sex toys
Case 1:15-cv-07433-LAP Document 1137-9 Filed 10/22/20 Page 36 of 56


                                                                      Page 70
 1                G Maxwell - Confidential
 2    that you kept in the Palm Beach house?
 3                   MR. PAGLIUCA:    Objection to the
 4           form and foundation.
 5           A.      First of all what do you mean.
 6           Q.      A laundry basket that contained sex
 7    toys in it?
 8                   MR. PAGLIUCA:    Objection to the
 9           form and foundation.
10           A.     Can you ask the question again?
11           Q.     Did you have a laundry basket that
12    contained sex toys in it, in the Palm Beach
13    House?
14                  MR. PAGLIUCA:     Objection to the
15           form and foundation.
16           Q.     Did you have a laundry basket of
17    sex toys in the Palm Beach house?
18                  MR. PAGLIUCA:     Same objection.
19           Q.     You can answer.
20           A.     I don't recollect anything about a
21    laundry basket of sex toys.
22           Q.     Do you recollect having sex toys at
23    the Palm Beach house?
24           A.     You have to define what are you
25    talking about.
Case 1:15-cv-07433-LAP Document 1137-9 Filed 10/22/20 Page 37 of 56




      Questions About Plaintiff and Epstein and Sex
Case 1:15-cv-07433-LAP Document 1137-9 Filed 10/22/20 Page 38 of 56


                                                                      Page 75
 1                G Maxwell - Confidential
 2           Q.      Do you recall having a basket full
 3    of sex toys?
 4           A.      I already told you I did not.
 5           Q.      We were talking a moment ago about
 6    Ms. Roberts and her position as a masseuse,
 7    do you know what she was paid for working as
 8    a masseuse for Jeffrey Epstein?
 9           A.      I do not.
10           Q.     Did you ever pay her?
11           A.     I don't ever recall paying her.
12           Q.     Do you know what happened during
13    the massage appointments with Jeffrey Epstein
14    and Virginia Roberts?
15                  MR. PAGLIUCA:     Objection to the
16           form and foundation.
17           A.     No.
18           Q.     Were you ever present to view a
19    massage between Jeffrey Epstein and Virginia
20    Roberts?
21           A.     I don't recollect ever seeing
22    Virginia and Jeffrey in a massage situation.
23           Q.     Do you ever recollect seeing them
24    in a sexual situation?
25           A.     I never saw them in a sexual
Case 1:15-cv-07433-LAP Document 1137-9 Filed 10/22/20 Page 39 of 56


                                                                      Page 76
 1                G Maxwell - Confidential
 2    situation.
 3           Q.      Did you ever participate in sex
 4    with Virginia Roberts and Jeffrey Epstein?
 5           A.      I never ever at any single time at
 6    any point ever at all participated in
 7    anything with Virginia and Jeffrey.            And for
 8    the record, she is an absolute total liar and
 9    you all know she lied on multiple things and
10    that is just one other disgusting thing she
11    added.
12           Q.     Did you help her obtain an
13    apartment in Palm Beach to live in?
14                  MR. PAGLIUCA:     Objection to the
15           form and foundation.
16           Q.     Was that part of your
17    responsibilities for Jeffrey?
18           A.     First of all, I didn't know she had
19    an apartment in Palm Beach.          I only learned
20    that from the many times you guys have gone
21    to the press to sell stories, so no.
22           Q.     Did you help her get a cell phone,
23    was that one of your responsibilities for
24    Jeffrey, to get her is a cell phone as part
25    of her masseuse obligations?
   Case 1:15-cv-07433-LAP Document 1137-9 Filed 10/22/20 Page 40 of 56




Questions About Training Plaintiff to Recruit Girls for Massages
Case 1:15-cv-07433-LAP Document 1137-9 Filed 10/22/20 Page 41 of 56


                                                                      Page 81
 1                G Maxwell - Confidential
 2           form and foundation.
 3           A.      Like I told you, I don't recall her
 4    being at the house at all.
 5           Q.      How many homes does Jeffrey have?
 6                   MR. PAGLIUCA:    Objection to the
 7           form and foundation.
 8           A.      When I was working for him, I think
 9    he had six maybe.
10           Q.     Would Virginia stay with him in
11    those homes?
12                  MR. PAGLIUCA:     Objection to the
13           form and foundation.
14           A.     I can only testify for when I was
15    present with him and I cannot say what she
16    did when I wasn't present with him.
17           Q.     When you were present, would
18    Virginia stay in the homes with him?
19           A.     I don't recall her staying in the
20    houses.
21           Q.     Did you train Virginia on how to
22    recruit other girls for massages?
23                  MR. PAGLIUCA:     Objection to the
24           form and foundation.
25           A.     No.
Case 1:15-cv-07433-LAP Document 1137-9 Filed 10/22/20 Page 42 of 56


                                                                      Page 82
 1                G Maxwell - Confidential
 2           Q.      Did you train Virginia on how to
 3    recruit other girls to perform sexual
 4    massages?
 5                   MR. PAGLIUCA:    Objection to the
 6           form and foundation.
 7           A.      No.   And it's absurd and her entire
 8    story is one giant tissue of lies and
 9    furthermore, she herself has -- if she says
10    that, you have to ask her about what she did.
11           Q.     Does Jeffrey like to have his
12    nipples pinched during sexual encounters?
13                  MR. PAGLIUCA:     Objection to form
14           and foundation.
15           A.     I'm not referring to any advice on
16    my counsel.      I'm not talking about any adult
17    sexual things when I was with him.
18           Q.     When Jeffrey would have a massage,
19    would he request that the masseuse pinch his
20    nipples while he was having a massage?
21           A.     I'm not talking about anything with
22    consensual adult situation.
23           Q.     What about with underage --
24           A.     I am not aware of anything.
25           Q.     You are not aware of Jeffrey
  Case 1:15-cv-07433-LAP Document 1137-9 Filed 10/22/20 Page 43 of 56




Questions About Ms. Maxwell’s Relationship with Mr. Epstein
Case 1:15-cv-07433-LAP Document 1137-9 Filed 10/22/20 Page 44 of 56


                                                                      Page 91
 1                G Maxwell - Confidential
 2    has perpetrated, cannot tell you what is true
 3    or factual or not.
 4           Q.      You said you were in the home a
 5    very limited time, so average in the year for
 6    example, 2004, how many times would you have
 7    been in his Palm Beach home?
 8           A.      Very hard for me to state but very
 9    little.
10           Q.     How about his New York home?
11           A.     Same.
12           Q.     Were you his girlfriend in that
13    year, in 2004?
14           A.     Define what you mean by girlfriend.
15           Q.     Were you in a relationship with him
16    where you would consider yourself his
17    girlfriend?
18           A.     No.
19           Q.     Did you ever consider yourself his
20    girlfriend?
21           A.     That's a tricky question.        There
22    were times when I would have liked to think
23    of myself as his girlfriend.
24           Q.     When would that have been?
25           A.     Probably in the early '90s.
   Case 1:15-cv-07433-LAP Document 1137-9 Filed 10/22/20 Page 45 of 56




Questions About Recruiting Girls, an Underage Girl in London,
                     and Foreign Girls
Case 1:15-cv-07433-LAP Document 1137-9 Filed 10/22/20 Page 46 of 56


                                                                      Page 97
 1                G Maxwell - Confidential
 2           A.      First of all I resent and despise
 3    the world recruit.        Would you like to define
 4    what you mean by recruit and by girls, you
 5    mean underage people.         I never had to do
 6    anything with underage people.           So why don't
 7    you reask the question in a way that I am
 8    able to answer it.
 9           Q.      I'm asking if you ever said that to
10    anybody.      So if you don't understand the word
11    recruit and you never used that word then the
12    answer to that question would be no.
13           A.     I have no memory as I sit here
14    today having used that word.
15           Q.     Did you ever meet an underage girl
16    in London to introduce her to Jeffrey to
17    provide him with a massage?
18                  MR. PAGLIUCA:     Objection to the
19           form and foundation.
20           A.     Run that past me one more time.
21           Q.     Did you ever meet an underage girl
22    in London to introduce her to Jeffrey to
23    perform a massage?
24                  MR. PAGLIUCA:     Same objection.
25           A.     Are you asking me if I met anybody
Case 1:15-cv-07433-LAP Document 1137-9 Filed 10/22/20 Page 47 of 56


                                                                      Page 98
 1                G Maxwell - Confidential
 2    that was underage in London specifically to
 3    provide a massage to Jeffrey, is that your
 4    question?
 5           Q.      Yes.
 6           A.      No.
 7           Q.      Do you know who                        is?
 8           A.      I don't recall her right now.
 9           Q.      Do you know if -- strike that.
10                  During the time that you were
11    working for Jeffrey, did you ever observe any
12    foreign females, so in other words, not from
13    the United States, that were brought to
14    Jeffrey's home to perform massages?
15                  MR. PAGLIUCA:     Objection to the
16           form and foundation.
17           A.     Females, what age are we talking?
18           Q.     Any age.
19           A.     Can you repeat the question?
20           Q.     During the time you were working
21    for Jeffrey, did you ever observe any foreign
22    females of any age that were at Jeffrey's
23    home to perform a massage?
24                  MR. PAGLIUCA:     Objection to the
25           form and foundation.
Case 1:15-cv-07433-LAP Document 1137-9 Filed 10/22/20 Page 48 of 56


                                                                      Page 99
 1                G Maxwell - Confidential
 2           A.      Are you asking me if any foreigner,
 3    not an American person, gave Jeffrey a
 4    massage?
 5           Q.      Yes.
 6           A.      Well, as I sit here today, I can't
 7    think of anyone who is foreign.           Certainly --
 8    I just can't think of anybody right this
 9    second.
10           Q.     How about any foreign girls who
11    were under the age of 18?
12           A.     I already testified to not knowing
13    anything about underage girls.
14           Q.     Were there foreign girls who were
15    brought to Jeffrey's home by
16    for the purposes of providing massages?
17                  MR. PAGLIUCA:     Objection to the
18           form and foundation.
19           A.     I am not aware of                bringing
20    girls.      I have not no idea what you are
21    talking about.
22           Q.     You have never been around foreign
23    girls who are under the age of 18 at
24    Jeffrey's homes?
25                  MR. PAGLIUCA:     Objection to the
Case 1:15-cv-07433-LAP Document 1137-9 Filed 10/22/20 Page 49 of 56


                                                                  Page 100
 1                G Maxwell - Confidential
 2           form and foundation.
 3           A.      I already testified about not
 4    knowing about underage girls.
 5           Q.      Did you provide any assistance with
 6    obtaining visas for foreign girls that were
 7    under the age of 18?
 8           A.      I've never participated in helping
 9    people of any age to get visas.
10           Q.     Did Jeffrey, was it Jeffrey's
11    preference to start a massage with sex?
12                  MR. PAGLIUCA:     Objection to the
13           form and foundation.
14           A.     I think you should ask that
15    question of Jeffrey.
16           Q.     Do you know?
17           A.     I don't believe that was his
18    preference.      I think -- you have to
19    understand, a massage -- perhaps you are not
20    really familiar with what massage is.
21           Q.     I am, I don't need a lecture on
22    massage.
23           A.     I think you do.
24                  MR. PAGLIUCA:     No question pending.
25           She will ask you another question now.
   Case 1:15-cv-07433-LAP Document 1137-9 Filed 10/22/20 Page 50 of 56




Questions About Underage Girls, Sex with                            , and
                         Outfits
Case 1:15-cv-07433-LAP Document 1137-9 Filed 10/22/20 Page 51 of 56


                                                                  Page 116
 1                G Maxwell - Confidential
 2           Q.      Were you present on the island when
 3                      visited?
 4           A.     Yes.
 5           Q.     How many times?
 6           A.     I can only remember once.
 7           Q.     Were there any girls under the age
 8    of 18 on the island during that one visit
 9    that you remember that were not family or
10    friends of or daughters of your friends?
11                  MR. PAGLIUCA:     Objection to the
12           form and foundation.
13           A.     There were no girls on the island
14    at all.      No girls, no women, other than the
15    staff who work at the house.          Girls meaning,
16    I assume you are asking underage, but there
17    was nobody female outside of the cooks and
18    the cleaners.
19           Q.     Did you, as part of your duties in
20    working for Jeffrey, ever arrange for
21    Virginia to have sex with
22                  MR. PAGLIUCA:     Objection to the
23           form and foundation.
24           A.     Just for the record, I have never
25    at any time, at anyplace, in any moment ever
Case 1:15-cv-07433-LAP Document 1137-9 Filed 10/22/20 Page 52 of 56


                                                                  Page 117
 1                G Maxwell - Confidential
 2    asked Virginia Roberts or whatever she is
 3    called now to have sex with anybody.
 4           Q.      Did you ever provide Virginia
 5    Roberts with an outfit, an outfit of a sexual
 6    nature to wear for
 7                   MR. PAGLIUCA:    Objection to the
 8           form and foundation.
 9           A.      I think we addressed the outfit
10    issue.
11           Q.     I am asking you if you ever
12    provided her with an outfit of a sexual
13    nature to wear for
14           A.     Categorically no.      You did get
15    that, I said categorically no
16           Q.     Don't worry I'm paying attention.
17           A.     You seemed very distracted in that
18    moment.
19                  (Maxwell Exhibit 6, flight logs,
20           marked for identification.)
21           A.     Do you mind if I take a break for
22    the bathroom.
23           Q.     It's 11:08 and we are going to go
24    off the record now.
25                  THE VIDEOGRAPHER:      It's now 11:09.
Case 1:15-cv-07433-LAP Document 1137-9 Filed 10/22/20 Page 53 of 56




         Questions About Pictures of Naked Girls
Case 1:15-cv-07433-LAP Document 1137-9 Filed 10/22/20 Page 54 of 56


                                                                  Page 188
 1                G Maxwell - Confidential
 2    people could use -- just like you would use
 3    if you needed to go online to get something,
 4    that people could use.
 5           Q.      Was that on a desk that you would
 6    use in your work capacity when you were at
 7    the house?
 8           A.      It was a desk, it was a room I was,
 9    I didn't really use that computer.
10           Q.     Were there images of naked girls
11    whether they be under the age of 18 or over
12    the age of 18 on that computer?
13           A.     I have no recollection of any naked
14    people on that computer when I was there in
15    2003, we are talking.
16           Q.     What about from say '99 to 2003?
17           A.     No, I can't recollect any naked
18    pictures.
19           Q.     Why were the computers removed from
20    the house before the search warrant was
21    executed?
22                  MR. PAGLIUCA:     Objection to the
23           form and foundation.
24           A.     I have no knowledge of anything
25    like that.
Case 1:15-cv-07433-LAP Document 1137-9 Filed 10/22/20 Page 55 of 56




             Questions About Topless Females
Case 1:15-cv-07433-LAP Document 1137-9 Filed 10/22/20 Page 56 of 56


                                                                  Page 404
 1                G Maxwell - Confidential
 2           form and foundation.
 3           A.      I mean I've been to his -- in the
 4    mid '90s, I would have communicated with
 5    people who worked for him.
 6           Q.      Have you communicated with
 7             about this case?
 8           A.      No.
 9           Q.      Have you ever seen a topless female
10    at any one of Jeffrey Epstein's properties?
11                  MR. PAGLIUCA:     Objection to the
12           form and foundation.        You've asked this
13           question, by the way, earlier on today.
14           A.     Again, I testified that there are
15    people who from time to time in the privacy
16    of a swimming pool have maybe taken a bikini
17    top off or something but it's not common and
18    certainly when I was at the house I don't
19    really recollect seeing that kind of
20    activity.
21           Q.     Have you ever smoked cigarettes?
22           A.     Yes.
23           Q.     Have you ever smoked cigarettes
24    with Virginia Roberts?
25           A.     I don't recall smoking cigarettes
